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Attotneys fot Plaintiff


                              IN THE UNITED STATES DISTRICT COURT
                                  FORTHE DISTRICT OF OREGON
                                        EUGENE DIVISION


JENNIFERJOY FREYD,                                                             Case        No. 6:17-CV-00448-MC

                     Plaintift                                            PLAINTIFF'S OBJECTION TO
                                                                         DEFENDANTS' BILL OF COSTS
                     1'S



UNIVERSITY OF OREGON, MICHAEL
H. SCHILL and HAL SADOFSKY,

                     Defcndants.

           Defendants seek $i2,588 in costs from their employee, Dt. Jenrufer Ftel'd. Their request

should be denied in frrll because an award of costs rvould be rnequrtable and would chrll civil nghts

htigation regarding an issue of substantial public importance. In the alternative, this Court should

deny all of Defendants' requested costs that were not "necessaril) obtained" for use in the case.




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    210 5W MORRTSON ST., SU|TE 400, PORTLANO,   OR   o. .,**.g   sa^p*     97204   TEL   503.308.4770 IFAX 503.427.9292
I.          Defendants' requests should be denied in full because an award ofcosts would be
            inequitable and would chill civil tights litigation tegatding an issue ofsubstantial
            public importance.

     The tnal court has broad discretion to detetmine whether or not a prevailing party is entided to

costs undet FRCP 54(d)(1). Padgll           u.    L.ouenthal,706 F.3d 1205,1209 (9th Cn.2013)       (distict court   has

discretion to deny costs); lrboireat         u.   Adidas Salonon AG, No. 01-105-ST, 2002WL37466564, at*4

@. Or. June 14,2002) (trial judge has "wide discretion" in awarding costs). A court may deny costs

fot reasons rncluding, but not limited to, the substantial public rmportance of the case; the chilling

effect on future similar actions; the closeness and difficulg'of the issues; and the economic dispang'

between the partles. Escribo     u. Foster    Po    try Farms,   Inc.,743F.3d1236,1247-48 (9th Cir.2014). Each

of those factors applies in this    case.


     A. This     is a case of substantial public importance.

     Dr. Freyd's   case raises novel questions about the apphcatron           of equal pay laws in an academic

settrng, whrch is an area of gteat public interest and a prominent civil rights topic.             ln E:riba, the 9th

Citcuit held that the district court had appropriately denied costs to the preyailing defendant whete

the plaintiff, a worket at a poultry ptocessing plant, alleged that her emplover had violated her nghts

under the Familv Medrcaj Leave Act (FNILA.) E:niba,7 43 F.3d at                 '1247 -48.   The district court found

that the case was of "substantial public importance" because cases like the plaintiffs, even when

brought on behalfofan individual, estabhsh the parameters ofwhat constitutes "sufficient notice"

under the FMLA and help to protect "vital               civ   rights for women in the workplace." I/. The court

noted that the defendant's own attorneys had acknowledged the broad imphcations ofthe plaintiffs

case. Id.   at 1248.

     Dr. Freyd's case is likewise of substantial public importance, because it tests the parameters of

anti-discrimination and equal pav laws in the higher education context and concerns the protecrion


PAGE    2-     PIIINTIFF'S OBJECTION TO DEFENDANTS'BILL OF COSTS
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ofvital civil rights fot women: The right to equal               pav and to be free from gender-based

discrirnination in the workplace. Dt. N{ayr, the head of Dr. Ftevd's own department, idennfied                              a


"considerable gender inequality" in firll professor salaries, noting that the "imbalance is difficult to

ignore" and results in a "threat to overall motale" for juruor female faculty, "rvho wonder if they can

escape the same fate as their senior colleagues."              Plaintiffs Opposition to Defendant's Motion for

Summary Judgmer,t, Ex 22;            see   also   Decl. of Jenrufer Gomez at !l!15-8 (describing the significant,

negative impact of witnessing gender discrimination against                 Dt. Freyd from the perspective of               a


female gtaduate student of color at the Uruversity of Oregon). Dr. ir{ayr identihed Dt. Frevd as the

"most glaring inequrty case." 1/. Dt. Frevd filed this lawsuit only after she sought to resolve the

matter with the Univetsity and             it failed to take corrective action.

      Dr. Frevd's     case has had an impact far be,vond her own personal circumstances.                      InJune 2017,

soon after     Dt.   Fre1,d filed this lawsuit, slxty Ps,vcholog_v Department graduate students signed an

open letter thankrng her fot "bnnging to Light [the] pervasive issue . . . [of] gender discrimination."

Declaration ofJennifet Gomez fl3, Ex 2. Noting that they each had theu "own experiences around

this issue," they wrote:       "In   addressing gender discrimination, you have indirecdy given much to us

gtaduate students. Not the least of which is hope . . . fot a life rn wluch such discrimination is a thing

ofthe past." 1/. Dt. Fterrd's        case has received rvide coverage rn media and blogs,                both on and off

campus, furthet demonstating significant interest in the lawsuit and the issues it raises.r




lS ee, eg., https://www.insidehighered.com /news /2019 / 05 / 28/professotJoses-sex-discriminadon-

case-over-het-pay-vows-fighthttps://wwrv.registerguard.com/rg/news /local/ 35403021-75 /wo-
psychology-pro fessot-sues-universiw-rn equal-pay-case. htrnl.csp ;
https;//u.ww-.klcc.org/post/professor-files-sex-bias-larvsuit-against-u-o-pav-discrimination;
https://wvw.opb.org/news/article/unir.ersity-oregon-pay-drscnmination-professor-larvsuit/;
https://u,ww.dailyemetald.com/news/psychology-ptofessor-appeals-dismissal-in-equal-payJawsuit
wtth-uo/article_2477 6a7 8-7 c29 -11e9 8d94 9b2a5d43145c.htrrrl;
http://uomatters.com/ 2019 /05 /gender-gaps-in-outside-offets-and-retention-freyd-lawsuit.htrnl.
PAGE 3. PLAINTIFF'S OBJECTION TO DEFENDANTS'BILL OF COSTS
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    Frnally, as in Escriba, Defendants themseh,es frame this case as one of substantial pubLic

impottance (although Plarntiff drsagrees with Defendant's assertions), atguing that the tetention

ptactices and policies challenged by Dr. Freyd are crucial to the University's ability to retain

ptoductive faculty, funding, and even R1 status. Defendants' Reply Bt.                   29-30.
                                                                                    ^t
    B. An award of costs in this case would                 have a chilling effect on curent and future
         victims of discrimination.

    This case taises issues that direcdy affect the lives of female faculty rn highet education,            as   rvell

as gtaduate students     who hope to pursue academic careers. An award of costs rvould chjll future

litrgation by srgnaling to female students and facultv that, should they bring a claim, they will be

saddled wrth significant economic costs. Dt. Jennifer Gomez, an Assistant Professor ofPsychology

and a former graduate srudent of Dr. Fteyd's, describes her "biggest fears" tegarding the case;

         If Dt. Ftevd, who fot    decades has engaged in outstandrng job performance, also has
         a backgtound, status, and privilege that I do not have, what hope is there for me to
         be able to contribute m), talent and expertise to academia without drscrimination? If I
         do assert my rights, will I be protected from my universitv's attempts to take more
         money from me in the form of costs? Or will asserting my rights lead to financial
         debt? If Dt. Freyd is ordered to pay the costs of this case, professionals who want to
         assert thelr legal rights against discrimination-especially those who are eatly on in
         tlleir careets and lack financial resources-may be discouraged from doing so. This
         would undetcut the court's abilitl' to uphold the law. It would also have a
         disproportionate impact on those who make less money, and therefore, would be
         less able to pay such costs.

Decl. of Jennifer Gomez !1fl8-9;    see   a/so id. at   fl2, Ex 1. Nleltssa L. Barnes, a curent Universiry    of

Oregon graduate student, has similar concerns;

         If Dt. Freyd is otdered to pay the costs of this case, a clear message will be sent to
         others r'"'ho mrght have considered bringrng similat legal actions. The convet'ed
         message would be that an emplover rvould Enanciall,v punish an emplovee, rvho *,as
         al-teady underpaid for their work, for advocating for equity in the workplace.

Dccl. of lrlelissa L. Barnes fl3




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    The Universiry's actions towards Dr. Freyd alreadv have had a signiFrcant impact, adversely

affectlng the ways rn which women understand ther jobs, their value to the Universitr, and thelr

prospects for equrtable pay. Knowledge of the gendered wage disparity has caused graduate students

in the Department ofPsychologv "sadness, frustration, anger, fear, and hurt," and has led some to

question whether they should remain rn academia at dl. ld.        atl3, Ex   2; Decl ofJennifer Gomez fl6

('As   a direct result of wimessing University     of Oregon's discrimination against Dr. Freyd, I have

seriously contemplated pursuing a career outside of academia."). An awatd ofcosts would further

fuel these feats.

    C. This      case taises close and     difficult issues.

    The closeness and drfficulty of this case further supports a denial ofcosts. The 9th Circuit in

E:niba held that the disttict court was justifred rn frnding in favor of the plaintiff on that factor

because the issues in the case "requted close attention to detail," including "hearing and

understanding expert testimony," evaluating workplace policies, and understanding FN{l-{

regulations and their applicatron to the facts.743 F3d at 1248. The plaintifPs case "address[ed] an

important legal quesdon" that tumed on "careful evaluation" of testimony and evidence. 1/.

    Dr. Freyd's     case also involves   difficult and complex legal issues. Het amended complaint raised

ten claims involving ten distinct state and federal statuto$'and constitutional grounds. The Mouon

for Summary Judgmeflt was extensively bdefed bv both parties and was supported by voluminous

exhibits, including deposinon testimony, declarations, and statements by experts. The case raises

important Iegal quesuons rncluding the meaning and scope of the Equal Pav Act, its relationslup to

Tide   VII   and state [aw, and the necessary showing for a disparate impact claim. Because case law

appl.ving the equal pay analysis in an academic setmg is sparse, this case is likelr. to provide guidance

and relevant authority in future cases.


PAGE     5.   PLAINTIFF'S OBJECTION TO DEFENDANTS'BILL OF COSTS
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        D. There is a great economic disparity between the Defendants                              and Dr. Freyd.

        Frnally, Defendants' tequests for costs should be denied in their entiretl because of the great

economic drspanty between Dr. Freyd                  -   an rndividual university professor         -   and Defendants

University of Oregon and Ptesident Michael Schrll (whose base salary is $720,000, with an annual

performance bonus ofup to $200,000). This factot                       or1   its own )ustifies a denial of Defendants'

request for costs. But          if   this Cowt determines that some award to Defendants is rvarranted,                     it   can

and should uulrze this factor to reduce the costs that Dr. Freyd must pay.                         See Powe/l   t. Adlerhorst Iu'1,

Inc.,   No. 3:14-CV-01827-NtO, 2017 WL 1371269,                   **2        (D. Or. Apr. 12,2017) (reducing costs rvhete

there was a "relatively modest economic drsparity" between the patres).

II.          Individualobjections.

        If *us Court     declines to deny Defendants' requests for costs in their entketv, it should deny all

costs that wete not "necessarily obtained" for use in the case.                     -faa   28 U.S.C. $ 1920 (fees for

transcripts and copving mav be taxed if necessarilv obtarned for use in the case); Cmu.ford FittingCo.

t. J. T. Cibbons, Inc., 182 U.S. 437          , 44142 (1987) (taxable costs limited to those enumerated bv

statute).

        A. This   Court should deny Defendants Univetsity of Oregon and Hal Sadofsky's
             requests for fees for pdnted or electronically recorded transcdpts that were not
             "necessadly obtained."

        When depositions ate used only for discoverl, hvestigative, or preparatory purposes, the

associated costs ate part            ofthe normal preparation for trial and           are   not taxable.   Ke//e1 a. Seart, Roebuck


et    Ca.,   No. CV-01-1423-ST, 2004 !7L 1824121, at x4 (D. Or. Aug. 10,2004) (ci(ng Indcpended lrun

Workl In:.        t   Uni*d   States Steel Corp., 322    F.2d 656,678 (9th Ci)); ue a/n A/exander Mfg., lnc. Enplo1u

Stotk Ownershtp and Trusl            a. I/linois Union Ins. Ca., 688   F.Supp.2d 1170 (D. Ot. 2010) (costs related to

depositions that "were metely useful fot discovery" are not r'necessar y obtained").


PAGE         6-   PIdINTIFF'S OBJECTION TO DEFENDANTS'BILL OF COSTS
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    This Court should deny Defendants' request for the costs of the depositron transcripts of Dr.

San)ay Srivastava ($844.15),    Dr. Andrew Marcus ($382.05), andJody Shipper ($342.30), because

Defendants did not cite or rely upon those transcripts in their Monon for Summaq'Judgment or in

any of their other pleadings. Su Arboircaa u Adidas Salonon       AC, No. CY-01-105-ST,       2002   WL

                *5-6 (D. Or.
31466564, at                 June 14,2002) (deposition tanscript costs not recoverable where the

defendants made no showing that transcripts were necessar\ obtained to support the summary

judgment motion); Malbco Holdings, IJ-C u.,4MCO In:. Co., No. CV-08-585-ST, 2010 U/L 1'1579387,

at +1 @. Or. July 29, 2010) (cost of obtarning documents was not tecovetable, where documents

wete unnecessary to the prevailing party's result).

    Furthermore, the depositions desctibed above wete of Defendants' own emplovees; Defendants

could have obtained information dtecdv from those individuals without reliance on the uanscripts,

and did, rn fact, submit declarations from its employees in support of rts N{otion for Summary

Judgment.    See   Arboinau,2002 WL 31466564, at*5-6 (denyrng costs of tanscripts in part because

deponents were the defendant's own employees, ftom whom defendant could and did obtatn

declatations in support of its summary judgment motion). Defendant's bare assertion that             it

"reasonably believed these transcripts would be necessarr for trial and motion practice" is

insufficient to establish that they were "necessarily obtained" under 28 USC sec 1920(2).           See   Malbco

Holdings,   LLC,2010 WL      11579387 , at   *2 (counsel's statements that transcripts were "used fot my

pteparation of the case" insufficient to establish that transcripts were "necessarily obtained," where

counsel did not indicate how he used the transcripts ot whv thev were needed apart from discovery

or convenience); Hanel     u. Timevaers,,lzr.,   No. CIV. 92-270-FF.,1994 !ilL 377741, at*2 (D. Or. June

22, 1994) (denying deposition costs where court could flot determine based on the record whether

depositions wete necessarily obtained or merelv usefrrl fot discoveS).


PAGE    7-   PL{INTIFF'S OBJECTION TO DE,FENDANTS'BILI- OF COSTS
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      This Court should also deny Defendants' requests for the cost of "real time" or rough draft

r.ersions of certain deposiuon uanscripts @r. Sadofskr' ($a6a), Dt. Coltane ($244.80), Dr. Mayt

($497.60), and   Dr. Freyd ($304)), where Defendants also have sought costs for the certified copies

of the same transcripts. The additional drafts                are redundant, and Defendant has provided no

explanation as to why they were necessarilv obtained.

      B. This Court should    deny Defendants University of Otegon and Hal Sadofsky's
          requests for costs for exemplification and the costs of making copies that were not
          "necessarily obtained."

      Photocopying costs are recoverable only to the extent that copies were "necessarily obtained for

use   in the case." 28 U.S.C.    S 1920(4).    Costs associated with rn-house photocopying or other activities

for the "convenience of counsel" ate not recoverable. t-redeick                      a.   Ciy   0f   Plrtland, 162 F.R.D. 139, 144

@. Or. 1995). Courts construe          \   1920(4) narrowly, such that the circumstances in wluch a copy                          will

be deemed "necessarily obtarned" for use in a case "will be extremely limlted." In                              re   O   ine   DVD-

RefltdlAntilrvrt U/4.,779 F.3d 914,930 (9th Cn. 2015). The fact rhar rhe document ptoduction

process involves the creation of a copy does not establish that the copy is necessarily obtained                                 for

use in the case.   //.   (although a larlryet who chooses to review electronically stored information by

uploadrng it onto his own computer has necessarily created a copy of that rnformation, the lawl'er's

abiliq' to review the origrnal document establishes that the uploaded copv was not necessarily

obtarned for use in the case).

      Defendants request $1,112.30 for costs requLed to "coply] electronic documents from multiple

custodians rnto a srngle database," rvhich Defendants state was flecessary because it allorved them to

"make necessarv redactions to presen-e the conFrdentialitv of education records, pursuant to the

Famtly Educauonal fughts and Pdvacy Act." This request should be denied, because the copying

that Defendants describe was done "in-house" for the convenience of counsel                                 -   to allorv


PAGE     8-   pLArNl'rFF',S OBJECTTON TO DEFENDANTS'B]LL OF COSTS
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Defendants to comply with statutory requirements unrelated to the Ltrgation rn this case              -   and thus

\vas not requiied for purposes of discovery. Although the process of copying the electronic

documents into a srngle database may have been a step in Defendants' production process, it was

not requLed for purposes of discovering those electonic documents to Plaintiff.

    C. This Court should deny Defendant Michael H. Schill's                       request for fees associated
         with printed, electtonic, and video-record deposition transctipts.

    Defendant Schill's demand for $3,853.95 fot pnnted and video-recorded deposiuon transcripts is

unreasonable and should be denied. As noted, a ptevailing partt'is onl,v entided to costs flor printed

or electtonically recorded transcdpts that rvere "necessar\ obtained" for use in the case. Defendant

Sch:II does not explain why he needed ot how he utilized the transcdpts and video recordings, nor

can any such need or use be inferred. His NIouon for Summary Judgment is two pages long and

adapts and incorporates bv reference Defendants Universrw of Otegon and Hal Sadofskv's Nlorion

for Summary Judgment. Defendant Schill's motion includes no atgument or independent citations

to any deposition Eanscripts.        Src   Arboinau, 2002   InvT,   31466564, ata5-6 (deposrtion ftanscript costs

not recovetable where the defendants made no showing that transcripts were necessarv to summary

judgment mouon).

    If this Court    declines to deny Defendant Schill's request for costs in rts entirety,       it should

disallow costs for the video recordings of Defendant Schill's deposition ($42.50) and Plaintiffs

depositron ($1,067.78). The cost of videotaping depositions, Iike the cost of deposition transcripts, is

recoverable under 28 U.S.C. 1920(2) onlv when it was necessarili' obtained for use in the case. For

example,   n Urrh     u.   Miltabishi Motor N. Am., [nc.,514 F.3d 699,702 (7th CiI. 2008), the case cited by

Defendant in support of his tequest for video costs, the prevailing party used the video-recorded

deposition at issue to support its motion for summarv judgment. Here, Defendant videotaped



PAGE     9-   PLAINTIFF'S OBJECTION TO DEFENDAN-I-S'BILL OF COSTS
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Plaintiffs deposition but      has   not explarned why that acdon was necessary. Defendant did not utilize

the video recording in      an1,   dispositive motion, Plarntiff would have been available at tdal, and the

video costs duplicate the cost of the transcript. Su Arboircaa,2002WL 31466564, at +5-6

(disallowing costs for videotaprng where the defendant failed to explain whv it was necessary,

particularly considering that the transcript contained the same information). Tlus Coutt also should

deny Defendant's request for the costs of the rough draft of Plainuffs deposition transcript

($235.95), fot the same teasons that          it should deny tough and "real time" draft   costs requested by

Defendants University of Oregon and Hal Sadofsky.

    For the above reasons, Plarntrff tespectfullv tequests that this Court deny Defendants' requests

for costs.

 Dated: Ir{ay 29,2019

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